Case 20-90009_ Filed 09/23/20 Entered 09/23/20 10:30:28 Doc#1-1 Page1of 20

B1040 (FORM 1040) (12/15)

 

_ ADVERSARY PROCEEDING COVER SHEET
_ Costmotions on n Reverse) eo

 

ADVERSARY PROCEEDING NUMBER
(Court Use Only)

 

 

PLAINTIFFS
Mystery Ranch, LLC and Jack Barrett

DEFENDANTS Robert "Bob" Gross and RB Enterprises

 

ATTORNEYS (Firm Name, Address, and Telephone No.)
David H. Bundy, Esquire #907-248-843 |
721 Depot Dr. Anchorage, AK 99501

ATTORNEYS (if Known) Bruce Falconer, Esqu.
911 W. 8th Avenue, Suite 302

Anchorage, Alaska 99501

 

PARTY (Check One Box Only)

PARTY (Check One Box Only)

[X]Debtor [JU.S. Trustee/Bankruptey Admin [-] Debtor o [(JU.S. Trustee/Bankruptcy Admin
[_Icreditor (_Jother [_ editor [Jother
CTrrustee CTrrustee

 

 

CAUSE OF ACTION: Breach of Duty of Good Faith and Fiduciary Duty; Implied Covenant of Good Faith and Fair Dealing
Breach of Fiduciary Duties-Common Law and AS 10.50.135; Intentional Spoilation of Evidence; Conversion; Unfair Trade
Practices, ae Fraudulent Chave/ance-AB 34.40.010; Permanent 8 ad Erovisional as unctive ¢ Relief,

 

 

 

NATURE OF SUIT
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~ RRBP 7001(1) — Recovery of Money/Property
O 11-Recovery of money/property - §542 turnover of property
12-Recovery of money/property - §547 preference
oO 13-Recovery of money/property - §548 fraudulent transfer
O 14-Recovery of money/property - other

FRBP 7001(2)— Validity, Priority or Extent of Lien
21-Validity, priority or extent of lien or other interest in property

FRBP 7001(3) — Approval of Sale of Property
31-Approval of sale of property of estate and of a co-owner - §363(h)

FRBP 7001(4) — Objection/Revocation of Discharge
CO 41-Objection / revocation of discharge - §727(c),(d),(e)

FRBP 7001(5) — Revocation of Confirmation
51-Revocation of confirmation

FRBP 7001(6) — Dischargeability
Cc 66-Dischargeability - §523(a)1),(14),(14A) priority tax claims
62-Dischargeability - §523(a)(2), false pretenses, false representation,
actual fraud
oO 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny

(continued next column)

FREP 7001(6) — ~ Dischangeabiaty ( cantina

E41: -Dischargeability - §523(a)(5), domestic support
68-Dischargeability - §523(a}(6), willful and malicious injury

L] 63-Dischargeability - §523(a)(8), student loan

O 64-Dischargeability - §523(a)(15), divorce/sep property settlement/decree
65-Dischargeability - other

FRBP 7001(7) — Injunctive Relief
71-Injunctive relief reinstatement of stay
CI 72-tnjunctive relief — other

FP BP 7001(8) Subordination of Claim or Interest
81-Subordination of claim or interest

FRBP 7001(9) Declaratory Judgment
91-Declaratory judgment

FRBP 7001(10) Determination of Removed Action
01-Determination of removed claim or cause

Other

(] ss-SIPA Case ~ 15 U.S.C. §§78aaa et.seq.

CJ 02-0ther (e.g. other actions that would have been brought in state court if
unrelated to bankruptcy case)

 

[X] Check if this case involves a substantive issue of state law

[_JCheck if this is asserted to be a class action under FRCP 23

 

[_]Check if a jury trial is demanded in complaint

Demand $

 

 

Other Relief Sought:

 

Practices; Misrepresentation; Fraudulent Conveyance-AS 34.40.010; Permanent and Provisional Injunctive Relief:

 

 
Case 20-90009_ Filed 09/23/20 Entered 09/23/20 10:30:28 Doc#1-1 Page 2 of 20

B1040 (FORM 1040) (12/15), Page 2

 

BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES -

 

NAME OF DEBTOR [BANKRUPTCY CASE NO.

 

 

 

 

 

 

 

 

 

JACK A. BARRETT MERITAGE COMPANIES, LLC 20-07712-MCW 20-07718-MCW
DISTRICT IN WHICH CASE IS PENDING DIVISIONAL OFFICE NAME OF JUDGE

ARIZONA PHOENIX MC WANSLEE

eG ee _ RELATED ADVERSARY PROCEEDING ar ANY)
PLAINTIFF ~ | ~ DEFENDANT ADVERSARY PROCEEDING NO.
DISTRICT IN WHICH ADVERSARY IS PENDING DIVISIONAL OFFICE NAME OF JUDGE

 

 

 

   

 

[PRINT NAME OF ATTORNEY (OR PLAINTIFF)
David H. Bundy, Esquire

 

 

 

INSTRUCTIONS

The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists
of all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and
the jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also
may be lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an

adversary proceeding.

A party filing an adversary proceeding must also must complete and file Form 104, the Adversary Proceeding
Cover Sheet, if it is required by the court. In some courts, the cover sheet is not required when the adversary proceeding
is filed electronically through the court's Case Management/Electronic Case Files (CM/ECF) system. (CM/ECF
captures the information on Form 104 as part of the filing process.) When completed, the cover sheet summarizes basic
information on the adversary proceeding. The clerk of court needs the information to process the adversary proceeding
and prepare required statistical reports on court activity.

The cover sheet and the information contained on it do not replace or supplement the filing and service of
pleadings or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is
largely self-explanatory, must be completed by the plaintiff's attorney (or by the plaintiff if the plaintiff is not
represented by an attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

Attorneys. Give the names and addresses of the attorneys, if known.
Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not presented by

an attorney, the plaintiff must sign.

 
